         FIFTH DISTRICT COURT OF APPEAL
                STATE OF FLORIDA
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                     Case No. 5D2024-0725
                 LT Case No. 2023-CF-003140-A
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REAVIS KENDRICK,

    Appellant,

    v.

STATE OF FLORIDA,

    Appellee.
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On appeal from the Circuit Court for Marion County.
Robert W. Hodges, Judge.

Matthew J. Metz, Public Defender, and George D.E. Burden,
Assistant Public Defender, Daytona Beach, for Appellant.

Ashley Moody, Attorney General, Tallahassee, and Allison L.
Morris, Assistant Attorney General, Daytona Beach, for Appellee.

                        August 27, 2024


PER CURIAM.

    AFFIRMED.

EISNAUGLE, HARRIS, and PRATT, JJ., concur.
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Not final until disposition of any timely and
authorized motion under Fla. R. App. P. 9.330 or
9.331.
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